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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


CHRISTOPHER KEESEE,

                       Plaintiff,

v.                                                  Case No: 6:14-cv-2118-Orl-40DAB

WELLS FARGO BANK, N.A.,

                       Defendant.
                                        /

                                       ORDER

      This cause came on for consideration following review of the Stipulation for

Dismissal without Prejudice, in which the parties stipulate to the dismissal of the

above-captioned action in its entirety without prejudice. (Doc. 19). The stipulation of

dismissal is self-executing pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1279 (11th Cir. 2012).

Accordingly, the Clerk of Court is DIRECTED to close the case.

      DONE AND ORDERED in Orlando, Florida on April 8, 2015.




Copies furnished to:

Counsel of Record
Unrepresented Parties
